                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )       No. 3:10-CR-025-03
                                          )       Judge Phillips
SHERA BERTRAM                             )

                            MEMORANDUM AND ORDER


       This matter is before the Court on the defendant’s pro se motion for early

termination of supervised release [Doc. 108]. In support of her motion, defendant states

that she has completed two years of her three-year term of supervised release. She has

passed all of her drug screens, paid her financial obligations, complied with the requests of

her probation officers, and has had no incidents while on supervision. The defendant has

maintained employment since her release from incarceration. The defendant has also

married and had a child. She states that she is now a different person with a different

outlook on life. Defendant wants to put “that part of my life behind me and … move on.”

       The Probation Office agrees that defendant has completed two years of her three-

year term of supervised release and she has complied with terms of her supervision. The

defendant has maintained stable employment during her supervision, she has passed all

drug screens, and appears to be doing very well in the community. The defendant is now

married with a new baby and is active in her church. Further, the supervising probation

officer does not oppose the defendant’s request for early termination of supervised release.




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Similarly, the government has advised the Court that it does not oppose the defendant’s

motion for early release.

       Defendant pleaded guilty to and was sentenced to one count of conspiracy to

distribute five grams or more of cocaine base, also known as “crack,” a Schedule II

controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B).           On

December 5, 2012, defendant was sentenced to a term of imprisonment of 36 months and

a three-year term of supervised release [Doc. 81].

       After considering the factors set forth 18 U.S.C. § 3553(a), the Court may terminate

a term of supervised release and discharge the defendant after the expiration of one year of

supervised release if the Court “is satisfied that such action is warranted by the conduct of

the defendant released and the interest of justice.” 18 U.S.C. § 3583(e)(1). After carefully

considering the requirements of the statute, the Court finds the relevant portions of 18

U.S.C. § 3553(a) support an early termination of defendant’s probation. In support of this

determination, the Court notes that defendant has completed over half of her three-year

term of supervised release; she has been in compliance with the conditions of her

supervised release; she maintains steady employment and an independent, stable residence.

In addition, her supervising probation officer recommends early termination and the

government does not oppose the request. It appears to the Court that defendant has

rehabilitated herself and she poses no threat to any individual or the community to reoffend.

Accordingly, pursuant to 18 U.S.C. § 3583(e)(1), based on the defendant’s conduct and the

interests of justice, defendant’s motion for early termination of supervised release [Doc.

108] is GRANTED. Defendant’s term of supervised release is TERMINATED.

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     IT IS SO ORDERED.



                               s/ Thomas W. Phillips
                             SENIOR UNITED STATES DISTRICT JUDGE




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